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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

THADDEUS JIMENEZ, )
) 09 C 8081
Plaintiff,
Vv. ) Judge Matthew F. Kennelly
)
CITY OF CHICAGO, et al. )
)
Defendants. ) JURY TRIAL DEMANDED

PLAINTIFF’S RESPONSES TO DEFENDANTS’ MOTIONS IN LIMINE

Plaintiff, THADDEUS JIMENEZ, by his attorneys, respectfully responds to
Defendants’ motions in limine as follows.

1. Indemnification and the City of Chicago in the Case Caption

Plaintiff has no objection to the proposition that evidence of indemnification
is presumptively irrelevant and inadmissible. The only exception would be if
Defendants open the door, e.g., by in any way intimating poverty or implying that
the verdict would work a hardship on themselves or their families. Lawson v.
Trowbridge, 153 F.3d 368, 378-79 (7th Cir. 1998). Should that occur, Plaintiff
should be permitted to petition the court outside the presence of the jury to
establish indemnification. The law on that point is well-established. E.g., Galvan
v. Norberg, 2006 WL 1343680, *2 (N.D.II]. May 10, 2006) (“But defense counsel
should be aware that if they plan to apprise the jury of the fact that the individual
officers will have to bear such damages out of their own pockets, fairness would
require that the jury also be informed of the true situation (indemnification) as to

compensatory damages”); Moore v. City of Chicago, 2008 WL 4549187, *5 (N.D.IIL

April 15, 2008) (‘The motion to bar mention of indemnity is granted, except as to
the extent defendant officers open the door by offering evidence that they are not

financially capable of paying compensatory damages to plaintiff. In that event, the
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court, with the help of the parties, will fashion an appropriate jury instruction to
inform the jury that the defendant officers will be indemnified as to compensatory,

but not punitive, damages.”); Mohr v. Chicago Sch. Reform Bd. of Trustees, 155

F.Supp.2d 923, 928-29 (N.D.IIL 2001) (Bucklo, J.) (“defendants insisted on arguing
that Clark and Jernigan would suffer financial hardship if they had to pay a
judgment, and I warned them, before closing, that this argument would open the
door to the fact of indemnification”) (relying on “legal scholar” John R. Williams,
Representing Plaintiffs in Civil Rights Litigation under Section 1983, 619 PLI/Lit
127, at 555 (1999) (“[OJ]nce a defendant has opened up the area, by presenting
evidence concerning his financial affairs, the plaintiff has an absolute right to
introduce evidence that the defendant will be indemnified and the exclusion of such

evidence is reversible error”)); Rosario v. City of Chicago, 2008 WL 905874, *6

(N.D.T1. April 1, 2008) (“To earn the benefit of this Court’s ruling excluding
evidence as to indemnification, Witt and his counsel must be circumspect in
avoiding any statement or implication as to Witt’s financial situation. If any such
statement or implication that might create the flipside risk identified here were to
take place, this Court would not hesitate to instruct the jury as a matter of law that
Witt is entitled to indemnification as to compensatory but not as to punitive
damages. Thus Witt and his counsel have total control over the enforcement of this
Court’s ruling on the subject.”).

As for the argument that the City should not be on the caption or verdict
form given the parties’ Monell stipulation, Plaintiff agrees that this particular
“consideration” was part of the benefit of the bargain for the Monell stipulation. As

such, Plaintiff does not oppose this request for relief either.!

' As the Court has been repeatedly advised, the parties are remain hopeful they can work
through the Monell stipulation issue without the need for the Court’s assistance. Efforts to that end
are remain ongoing, but if the parties are unable to come to agreement, the Court will have to be

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2. Bifurcation of Punitive Damages
Defendants argue next that this Court can and should bifurcate the issue of
punitive damages. Those are two different questions. While the Court obviously
does have the discretion to bifurcate the trial, none of the arguments offered by the
Defendants suffice to justify that result.
The party moving for bifurcation under Rule 42(b) “bears the burden of

proving that separate trials are justified.” Caterpillar, Inc. v. Deere & Co., No. 96 C

5355, 1997 WL 17798, at *1 (N.D. IIL. Jan. 14, 1997); 5 Moore’s Federal Practice, §
42.03[1]. As Judge Aspen has explained: “I proceed from the position of the Federal
Rules of Civil Procedure; specifically, that the unitary resolution of lawsuits is
sought. A single trial on the merits of all contested issues and claims of the parties

is preferable to their piecemeal adjudication.” Terrell v. Childers, No. 93 C 2460,

1996 WL 385310, at *14 (N.D. II. July 3, 1996) (citing Advisory Committee Notes to
Rule 42(b) and 9 Wright & Miller, Federal Practice & Procedure, § 2388).

In this case, the proposed bifurcation would double up the need for opening
statements, closing arguments, and witness testimony, an unnecessary inefficiency
that should be avoided unless Defendants could point to a compelling reason to do
everything twice. They have failed to do so here. The purported risk of “juror
nullification” (Motion at 4) is unexplained and totally unclear. Equally
unsupported is Defendants’ conclusory statement, without more, that “the City
would be prejudiced” without bifurcation. As for Defendants’ concern about
Plaintiffs interests in avoiding sympathy based on Defendants’ inability to pay,
Plaintiff is perfectly willing to accept that risk.

That leaves as Defendants’ only remaining argument the fact that

Defendants could avoid what they describe as the “presumed prejudice associated

involved prior to trial.
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with the introduction of indemnification evidence.” To the contrary, however, there
would be no prejudice, and certainly no unfair prejudice, because the jury would be
informed accurately about who would be responsible for which award.

Balanced against that absence of prejudice to the Defendants, the risk to
Plaintiff is real. Leaving aside the inefficiencies referenced above (which are
themselves sufficient to justify denial of the motion), if the jury were told that they
could go home if they decided against Plaintiff, but would have to return for more
trial if they found liability, this could create unfair pressure in a close case. Absent
any compelling rationale to bifurcate the trial, the presumption of a single trial
should govern, and Defendants’ proposal should be rejected.

3. The Warfield Verdict

Last year, the primary Defendants in the Jimenez case were found liable at a
federal civil rights trial of doing exactly what they are accused of doing here:
manipulating third-party witnesses to implicate their criminal suspect by means of
heavy-handed tactics, including involuntary detention at the police station and
coercive pressure. Given the closeness of the fit if the alleged conduct for purposes
of Fed. R. Evid. 404(b), evidence of this adjudication is relevant and admissible for
the following reasons.

A, Background: The Warfield Verdict

Defendant Detectives Bogucki and Schalk, the primary investigators in the

Jimenez case, were previously sued in a case captioned Warfield v. City of Chicago,
05 C 3712. As set forth in the Warfield complaint, the Defendants were accused of
(a) detaining against their wills a group of third-party witnesses to a police
shooting; and then (b) exerting pressure on these third-party witnesses to provide
an account that was consistent with the police version of what had happened; and

(c) only agreeing to release the witnesses after they agreed to change their stories to

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become consistent with the police version. See Exhibit A (Warfield complaint, [J
16-26).

These Warfield allegations were tried to a federal jury last year before Judge
Castillo. Not only was there an adequate opportunity and incentive for Bogucki and
Schalk to defend, but they were represented by the same law firm that represents
the Jimenez Defendants (Hale & Associates).”

At the conclusion of the Warfield trial, the jury found against Bogucki and
Schalk (and others) on all counts, awarding a total of $109,000 of compensatory
damages to a total of eight plaintiffs. See Exhibit B. The jury further found that
Bogucki and Schalk acted with sufficient malice to justify awards of $66,060 in total
punitive damages against each of them. Final judgment was entered against them
on July 23, 2009. Id.

For purposes of admissibility determinations at trial, evidence of mere
accusations are treated differently than final adjudications. Thus, evidence of
misconduct for which Plaintiff is arrested but not convicted is generally
inadmissible, while misconduct for which Plaintiff is convicted is a different story.

E.g., Jones v. Scientific Colors, Inc., 2001 WL 668943, at *2 (N.D.IIIL. 2001). By

analogy, courts routinely exclude CR complaints of police misconduct, except where

there is a finding of wrongdoing. Cosey v. City of Chicago, No. 97 C 6808, 1999 WL

300238, *3 (N.D. Ill. May 3, 1999) (finding sustained C.R. file against defendant
admissible under Fed. R. Evid. 803(8)(c)); Edwards v. Thomas, 31 F. Supp. 2d 1069,

1074-75 (N.D. Ill. 1999) (“It is unnecessary to draw any inference from the low
incidence of sustained complaints against police officers to hold that where such a

complaint is sustained the evidence is sufficient to support a jury finding that the

* The Warfield plaintiffs were represented by one of the same law firms that
represents Mr. Jimenez (Loevy & Loevy).

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defendant committed the similar act.”) (emphasis in original).

Here, the Defendants are estopped from denying that they did in fact commit
the allegations from Warfield. They have already litigated and lost that issue. The
only remaining question is whether the Warfield allegations satisfy the test for
admissibility under Fed. R. Evid. (“Rule”) 404(b). As discussed below, they easily
do.

B. The Warfield Verdict Satisfies Rule 404(b)

Under Rule 404(b), “evidence of other crimes, wrongs, or acts is not
admissible to prove the character of a person in order to show action in conformity
therewith.” Fed. R. Evid. 404(b). However, it may, be admissible “for other
purposes, such as proof of motive, opportunity, intent, preparation, plan,
knowledge, identity, or absence of mistake or accident.” Id. “Rule 404(b) does not
require the party offering the evidence to force the evidence into a particular listed
category, but simply to show any relevant purpose other than proving conduct by

means of a general propensity inference.” United States v. Robinson, 161 F.3d 463,

466-67 (7th Cir. 1998).

Evidence is admissible under Rule 404(b) where: (1) it is directed towards
establishing a matter in issue other than the defendant’s propensity to commit a
crime, (2) it shows that the other acts is similar enough and close enough in time to
be relevant to the matter in issue, (8) it is sufficient to support a jury finding that
defendant committed the similar act, and (4) the probative value of the evidence is
not substantially outweighed by the danger of unfair prejudice. Treece v.

Hochstetler, 213 F.3d 360, 363 (7th Cir. 2000); United States v. Zapata, 871 F.2d

616, 620 (7th Cir. 1989). The Warfield misconduct satisfies this four-part test.
Courts have cautioned, moreover, that the 404(b) witness’s experience need

not be identical to Plaintiff's to be admissible. See United States v. York, 933 F.2d

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1348, 1351 (7th Cir. 1991) Gf prior act is sufficiently similar in type, it need not be a
“duplicate[] of the ones for which the defendant is now being tried”), overruled on

other grounds, Wilson v. Williams, 182 F.3d 562 (7th Cir. 1999); see also United

States v. Radseck, 718 F.2d 233, 236 (7th Cir. 1983) (same). Where modus operandi
is at issue, similarities should be “sufficiently idiosyncratic to permit an inference of

pattern for purposes of truth.” United States v. Hudson, 884 F.2d 1016, 1021 (7th

Cir. 1989). And, “[iJntent, unlike modus operandi, does not require a ‘singular

strong resemblance’ between the prior bad act and the conduct alleged, but instead

requires a lesser showing of similarity.” Akbar v. City of Chicago, No. 06 C 33685,
2009 WL 3335364, at *2 (N.D.IIL Oct. 14, 2009).

Here, evidence establishing the manner in which Defendants conducted their
interrogations in murder investigations is relevant not only to establishing their
modus operandi and intent, but also knowledge and plan, all of which are relevant

issues in this case. Hill v. City of Chicago, 2011 WL 3840336, *4-*11 (N.D.IIL Aug.

30, 2011). Defendants are going to deny that they would coerce suspects to confess,
and will claim that their interrogation technique is simply to ask questions and
receive voluntary answers. The Warfield finding suggests otherwise. Just as is
alleged in the Jimenez case, the Warfield misconduct involved holding third-party
witnesses against their will in interrogation rooms, and refusing to allow them to
leave unless these witnesses cooperated in telling Bogucki and Schalk’s version of
the events. Bogucki and Schalk are also accused in both Warfield and in this case
of exerting psychological pressure on vulnerable witnesses in the same manner, i.e.,
by threatening them that they would themselves face legal trouble unless they
changed their stories to fit what the Defendants were claiming. These allegations

are sufficiently similar to satisfy Rule 404(b). See, e.g., Wilson v. City of Chicago, 6

F.3d 1233, 1238 (7th Cir. 1993); United States v. Conley, 291 F.3d 464 (7th Cir.

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2002); United States v. Green, 258 F.3d 683, 694 (7th Cir. 2001); Edwards v.

Thomas, 31 F. Supp. 2d 1069, 1074-75 (N.D. Ill. 1999); United States v. Senak, 527
F.2d 129, 143-45 (7th Cir. 1975).°
C. Defendants’ Counter-Arguments Are Unpersuasive

Defendants raise several arguments in opposition to admissibility of the
Warfield adjudication, but none withstand scrutiny.

First, Defendants incorrectly argue that the Warfield wrongdoing could only
be proved up with testimony by the Warfield plaintiffs. Indeed, if Plaintiff had
proposed to introduce the Warfield plaintiffs’ testimony, Defendants would have
been up in arms about a “mini-trial.” Here, there is no need for the Warfield
plaintiffs to prove up the allegations because Defendants are estopped from denying
them. At trial, Mr. Jimenez should thus be permitted to confront Bogucki and
Schalk with the Warfield allegations and the final judgment against them, a copy of
which is on Plaintiffs FPTO Exhibit List. This evidence satisfies the test for
admissibility set forth above, entails no risk of unfair prejudice, and will occupy a
very small percentage of the time at trial. The Warfield witnesses themselves are
unnecessary.

Second, Defendants argue that the settlement reached by the parties while
the Warfield appeal was pending nullifies this evidence. This argument is frivolous.
The Warfield parties reached a settlement by which the City agreed to pay the
entire compensatory damages verdict without delay, plus an additional award of

attorneys’ fees, in exchange for dismissing the appeal. The resulting settlement

3 Nor is the passage of time a barrier to admissibility here. Courts are liberal about temporal
proximity, and cases have found allegations that involve conduct from a decade ago or longer to be
close enough in time to provide admissible evidence of prior bad acts. See, e.g., United States v.
Ross, 510 F.2d 702, 713 (7th Cir. 2007) (acts from five to six years earlier were sufficiently close in
time); United States v. Wimberly, 60 F.3d 281, 286 (7th Cir. 1995) (thirteen-year time gap); United
States v. Macedo, 406 F.3d 778, 793 (7th Cir. 2005) (nine-year time gap); United States v. Mounts, 35
F.3d 1208, 1214-15 (7th Cir. 1994) (permitting admission of drug purchase that occurred seven years
prior to arrest to prove intent).

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agreement provided that Plaintiffs’ counsel would not rely on the “release and
satisfaction of judgment” for proof of anything in future litigation. See Exhibit C,
Settlement Agreement, { 3. This provision has no bearing here because Mr.
Jimenez (and his counsel) are not attempting to rely on the Warfield release for any
purpose. Instead, Mr. Jimenez relies on the final judgment in Warfield.

Defendants also argue that “the settlement specifically called for vacating the
judgment against them” (Def. Mot. at 5), but that representation is flatly
contradicted by the document itself, which is entitled “Release and Satisfaction of
Judgment.” See Exhibit C. This release and satisfaction document does not
purport to vacate or otherwise impair the underlying judgment, and Defendants
certainly cite to nothing suggesting otherwise. Id.*

Finally, Defendants cite to case after case for the proposition that
unsustained CR records, personnel files, and other complaints in an officer’s
disciplinary file are generally inadmissible. See Def. Mot. at 8-9. That body of case
law has no bearing on the issue before the court, namely, the admissibility of
proven allegations of misconduct mirroring the allegations in this case.

4, “Generalized” References to Police Misconduct

Plaintiff agrees with the general proposition that the parties should not
unduly seek to inflame the jury by complaining about unrelated cases of police
misconduct. However, there is no justification for a blanket order that Plaintiffs
counsel can never reference anything but this case, depending on the direction of
the trial. As Judge Shadur explained in denying a similar motion to bar references

to current events:

4 As part of the settlement, Plaintiffs did agree to join and file a motion to rescind Judge
Castillo's finding that defense counsel had committed a Batson violation during jury selection. See
Exhibit D. That motion, however, in no way "called for vacating the judgments" against the
Defendants, nor did it create that result. Id.

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Again defense counsel have sought to obtain a bar order in advance of trial on
a subject that far better lends itself to consideration in the trial environment.
It looks very much as though the motion is one lodged in the Corporation
Counsel’s Office computer, for this Court’s colleague Honorable Ruben
Castillo was called on to deal with an identical motion in Charles v. Cotter,
867 F.Supp. 648, 664 (N.D.IIL. 1994). This Court shares Judge Castillo’s
“unwilling[ness] to muzzle [plaintiffs] counsel at this early phase” (id.), and
it denies the motion (just as Judge Castillo did).

Regalado v. City of Chicago, 1998 WL 919712, *2 (N.D.IIl. Dec. 30, 1998).

Here, too, Defendants ask the court to do what Judge Castillo characterized
as an unacceptable attempt to “muzzle counsel at this early phase of the trial.”

Charles v. Cotter, 867 F. Supp. 648, 664 (N.D.IIL 1994) (“the court cannot conclude

at this time that mere references to other acts [of current or past events] are unduly
prejudicial. Accordingly, defendants’ motion is denied”).

The same conclusion is appropriate here. The Court “exercises broad
discretion in controlling counsels’ arguments and ensuring that argument does not
stray unduly from the mark.” Cotter, 867 F.Supp. at 664. However, it is impossible
to say definitively at this early stage that any and all references to current events
have no place whatsoever at this trial. The Defendants’ blanket motion should
therefore be denied without prejudice, with the Defendants remaining free to object
as the issues develop at trial.

5. References to Northwestern’s Center on Wrongful Convictions And
Other Post-Conviction Cases

A number of witnesses in the case came to be involved in Plaintiffs case
through Northwestern’s Center on Wrongful Convictions, including, for example,
Steve Drizin, Alison Flaum, and Luke Netzel. These witnesses are not only on
Plaintiffs FPTO witness list because of their status as damages witnesses, but they
are also on Defendants’ FPTO witness list, given Defendants’ recurrent theme that
the evidence giving rise to Plaintiffs exoneration (e.g., the Tueffel recantation, the

Elder recantation) was allegedly tainted by the CWC’s involvement and actions.

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Given Defendants’ argument in that regard, it would be unduly constraining
to try to explain the role, involvement, and motivations of these witnesses without
also permitting an explanation of their role in the context of the CWC. If, for
example, Defendants intend to call into question the motives and actions of CWC
witnesses, those witnesses should be permitted to explain why they did what they
did. A contrary holding would leave CWC witnesses vulnerable to the inference
that they had personal incentives to manipulate testimony; they should not be
prevented from explaining that their objective was to further the CWC’s mission,
rather than their own agenda or pocketbook.

Knowing that they intend to attack the organization as part of their case,
Defendants do not really dispute the premise that the affiliation is relevant,
arguing instead that references should be limited semantically to “Northwestern”
rather than to the CWC. This argument is conspicuously analogous to Plaintiffs
own argument that the “Triangles” and the “Royals” should be referenced as “party
crews’ rather than “street gangs.” Plaintiff respectfully submits that if the Court is
inclined to limit the danger of unfair prejudice associated with the CWC label .
(while still capturing the probative value of the affiliation itself) in the context of
Plaintiffs motion, then the same ruling should govern Defendants’ motion -- and
visa versa.”

6. The Prosecution of Juan Carlos Torres

Defendants are correct in at least one respect: the fact of criminal charges
pending against Juan Carlos does not prove (or even tend to prove) that Juan
Carlos is guilty of the crime. That truism, however, does not end the discussion,

and it certainly does not compel a conclusion that all references to those criminal

° The one point on which Defendants' motion makes sense is to the extent that it seeks to bar
references to other, unrelated exonerations. That subject seems sufficiently tangential, and Plaintiff
had no intention of exploring it. The motion to bar it is thus unopposed in that respect.

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charges must be barred for all purposes. Indeed, the Juan Carlos charges are
independently relevant at trial for several different and admissible purposes.

A, The Evidence Is Necessary To Establish an Essential Element of
Plaintiffs Malicious Prosecution Claim

To prevail in his malicious prosecution claim, Plaintiff must prove that the
criminal charges against him were dismissed in a manner indicative of innocence.

Swick v. Listaud, 169 Ill. 2d 504, 518, 662 N.E.2d 1238 (1996). A nolle pros of the

criminal charges (as happened here) is insufficient to satisfy the element. Id. After
all, murder has no statute of limitations, and charges that have been nolle’d are
subject to reinstatement. The law is thus well-settled that a nolle is not alone
sufficiently indicative of innocence without proof of more facts tending to establish

that it was. Brown v. McGee, 2000 WL 821712, at *3 (N.D.IIl. June 23, 2000) (given

the transcript of the court hearing at issue, “the plaintiff has presented some
evidence. .. which creates a genuine issue of fact as to the reason for the nolle
pros”); Mizwicki, 1999 WL 413501, at *10 (‘The bare fact of the nolle prosequi does
not prove that the state lacks reasonable cause to pursue the criminal proceedings
against [the plaintiff], but defendants [have] not demonstrated the absence of a
dispute with respect to the question”).

Because it is impossible to get into the minds of decision- maker who dropped
the charges, the “indicative of innocence” inquiry tends to be circumstantial, and

turns on the facts surrounding the dismissal. Treece v. City of Naperville, 1998 WL

142391, at *6 (N.D.IL March 25, 1998) (the question is whether “a reasonable jury
could infer that the Assistant State’s Attorneys requested the nolle prosequi order

because they lacked reasonable grounds to pursue the criminal prosecution”); Velez

v. Avis Rent A Car System, Inc., 308 Ill. App. 3d 923, 929, 721 N.E.2d 652 (1 Dist.

1999) (failure to prosecute case despite “ample opportunity” to do so indicated that
“the disposition was premised upon a lack of probable cause and was indicative of

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the innocence of the plaintiff’); Ferguson v. City of Chicago, 348 Ill. App. 3d 60, 66,

795 N.E.2d 984 (1 Dist. 2003) (plaintiffs allegation that he appeared in court nine
times before the prosecutor requested the court to “SOL” the case were sufficient to

“amount to a ‘favorable termination’ which would support a malicious prosecution

claim”); Mizwicki v. City of Naperville, 1999 WL 413501, at *10 (N.D.IIL. June 2,

1999) (although no record existed regarding the reason for the entry of the nolle
pros, the plaintiffs disputed claim that a complaining officer failed to attend court
on the date of the trial because he knew the plaintiff to be innocent was sufficient).

Here, the dismissal of the charges against Plaintiff occurred in a specific
context suggesting his innocence. On the same day that the charges were dropped,
the State’s Attorney arrested and charged Juan Carlos with the very same crime.
The fact that charges were concurrently brought against Juan Carlos thus provides
persuasive and necessary proof of the final element of Plaintiffs malicious
prosecution claim, and it is thus admissible on that basis. Aguirre v. City of
Chicago, 382 Il. App. 3d 89, 98, 887 N.E.2d 656 (2008) (upholding the trial court’s
admission of the actual killer’s testimony as relevant to show that the plaintiffs
received a favorable termination of the proceedings).

B. The Evidence Is Independently Admissible Because It Bears On Juan
Carlos’ Presumed Invocation Of The Fifth

Defendants have made no secret of their intent to try to prove at trial that
Plaintiff murdered Eric Morro. Throughout discovery, Defendants’ position has
consistently been that Plaintiffs guilt is a defense to the charge that they
manufactured the case against him, not to mention minimizing his entitlement to
damages even if there were due process violations.

For his part, Plaintiff intends to establish at trial that the crime was
committed not by him, but by Juan Carlos. To that end, Plaintiff plans to call Juan

Carlos, among others.

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Juan Carlos, of course, has the constitutional right to remain silent, and may
well decide it is in his own best interest to assert the privilege against
self-incrimination. In a civil case, the jury would then be permitted to infer that
truthful answers to the questions would have been adverse to his interests (though
not necessarily to the Defendants per se). Baxter v. Palmigiano, 425 U.S. 308
(1976).

To be clear, there is nothing in Baxter that limits its holding to parties as

opposed to non-party witnesses. See, e.g., Greviskes v. Universities Research Ass’n,

Inc., 417 F.3d 752, 758 (7th Cir. 2005) (relying on Baxter for the proposition that
the district court was permitted to draw negative inferences from the assertion of

privileges by the plaintiff and a witness who was not a party); Central States, SE

and SW Areas Pension Fund v. Wintz Prop., Inc., 155 F.3d 868, 872 (7th Cir. 1998)

(“[IJnvoking the Fifth Amendment in a civil context invites an inference that the
witness’ testimony would be adverse to his interests... .”); Daniels v. Pipefitters’

Ass’n Local Union No. 597, 983 F.2d 800, 802 (7th Cir. 1993) (“[A]n adverse

inference may be drawn against a witness who pleads the Fifth Amendment even if

that witness is not a party.”); Pyles v. Johnson, 136 F.3d 986, 997 (5th Cir. 1998)

(discussing the Baxter rule and stating that “[t]he same is true regarding an

invocation of the privilege by a non-party witness in a civil action”); Brink’s Inc. v.

City of New York, 717 F.2d 700 (2d Cir. 1983) (“[T]he Supreme Court [s]tandard

made no distinction between criminal and civil cases or between claims of privilege
asserted by a party and claims of privilege asserted by a nonparty witness”); Rad

Services, Inc. v. Aetna Cas. and Sur. Co., 808 F.2d 271, 275 (8d Cir. 1986)

(permitting a non-party’s invocation of the privilege against self-incrimination in
civil litigation to be used against a party).

Plaintiff is entitled to establish that it would be adverse to Juan Carlos’

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interests to testify truthfully because there are charges pending against him. This
is a second, independent reason why those pending charges are relevant and
admissible.°®

C. Defendants’ Argument That Plaintiff Should Be Barred From
Proving Juan Carlos’ Guilt Is a Nonstarter

In passing, Defendants half-heartedly suggest that Plaintiff should be barred
from proving that the crime was committed by Juan Carlos rather than by Plaintiff
himself. Def. Mot. at 11. The argument is unavailing.

For starters, it is worth noting that Defendants are not contending that the
issue of Plaintiff's underlying guilt/innocence is irrelevant. Indeed, Defendants
have spent most of discovery trying to build the case that they got the right man,
ie., that Plaintiff really did commit the Morro murder. The argument at issue is
simply that Plaintiff should not be able to support the premise of his innocence with
evidence that the real killer was Juan Carlos.

That argument is inconsistent with the law. It is well-settled that evidence
tending to show that someone else committed the charged offense is relevant to
disprove one’s own guilt. People v. Kirchner, 194 Ill. 2d 502, 539, 743 N.E.2d 94
(2000);People v. Whalen, 158 Ill. 2d 415, 4380-31, 634 N.E.2d 725 (1994). See also
People v. Beaman, 229 IIl. 2d 56, 72-76, 890 N.E.2d 500, 509-12 (2008) (Brady

violation committed where state failed to turn over evidence of a viable alternative
suspect).

In response, Defendants’ argument relies on Porter v. City of Chicago, 393 IIL

App. 3d 855, 912 N.E.2d 1262 (1 Dist. 2009), a case which is easily distinguishable.

6 Any other result would be perverse: Plaintiff would be unfairly deprived of critical evidence

(or at a minimum, the benefit of favorable inferences) just because Juan Carlos fears prosecution for
the very crime Plaintiff was falsely accused of committing. There is no persuasive rationale for
depriving Plaintiff of that evidence, particularly where Juan Carlos' interests are fully protected by
the availability of a privilege that he in all likelihood will assert.

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Leaving aside that Porter was limited to state law malicious prosecution (and thus

the presence vel non of probable cause), Porter merely held that the trial court in

that case did not abuse its discretion in excluding evidence of a confession by
someone else in that particular case. That discretionary determination was driven
by doubts about the reliability of the particular confession in issue, which was given
under questionable circumstances and had since been recanted, 392 Ill. App. 3d at
867-68, and by the fact that Mr. Porter was independently able to introduce for the
jury’s consideration an innocence pardon, thereby establishing that proposition
without the need for the confession evidence. Id. at 863. In that light, Porter’s
holding does not support the proposition that evidence of someone else’s confession
would never be relevant; the Court simply affirmed the trial court’s discretion on
those facts, without even necessarily agreeing with the conclusion. Id. (“Given this
context for jury deliberation, we cannot say the trial judge abused his discretion by
barring evidence of Simon’s guilt.”).’

The present case, by contrast, is far closer to Aguirre v. City of Chicago, 382

Ill. App. 3d 89, 887 N.E.2d 656 (2008), a case discussed at length in Porter. The
Aguirre plaintiffs brought a malicious prosecution claim after their murder
convictions were reversed. At trial, they were permitted to call the confessed
murderer to testify about the actual circumstances of the crime, including his
confession that he (not the plaintiffs) committed it. 382 Ill. App. 3d at 97-100. The
appellate court affirmed the introduction of this testimony, finding that it was
relevant to rebut the evidence assembled by the defendant officers tending to

suggest the plaintiffs guilt, evidence that had allegedly been procured through

” In fact, the Court allowed for the possibility that the evidence was erroneously excluded, but
nonetheless concluded that any such error was harmless. Porter, 393 Ill. App. 3d at 385 ("Even if
Porter is correct and the trial court erred in excluding evidence of Simon's guilt, that error would not
give rise to the relief Porter requests: a new trial").

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improper coercion. Id.

In holding that evidence of someone else’s guilt supported an inference that
the evidence suggesting plaintiffs’ guilt was maliciously fabricated, the court
rejected Defendants’ argument that the “chain of inferences becomes so tenuous
that their probative value becomes nonexistent,” 382 Ill. App. 3d at 100, a
characterization equally inapplicable here. As in Aguirre, if Juan Carlos truly
committed the murder, it hardly requires a “tenuous” chain of inferences to reach
the conclusion that Defendants utilized improper influence to procure a series of
eyewitness statements and identifications suggesting that someone else (Plaintiff)
committed the crime. Id.°

7. The Polaroid and The Inventory List

As the Court discussed in its summary judgment opinion, Mr. Jimenez asserts
that one or more of the Defendants not only improperly placed a polaroid photo of
Jimenez in front of Tina Elder immediately before she viewed a lineup, but they
also kept the polaroid photo off the inventory list of exhibits that the police and
prosecutors shared with Jimenez’s counsel in 1994 and 1997. Defendants have
argued that the documents were available to defense counsel through the Records
Division. Indeed, this Court -- based on an affidavit from a Sergeant Spellman in
the Chicago Police Department Records Division that the complete inventory list
and the photograph were within the department’s file for the Morro case -- granted

summary judgment for Defendants to the extent that Jimenez claims a Brady

8 Defendants’ citation to Gauger v. Hendle, 954 N.E.2d 307 (ist Dist. 2009) is equally unhelpful
for the same reason. The Appellate Court affirmed the discretionary exclusion of evidence bearing
‘on innocence in part because, as in Porter, the jury was informed of the parties' stipulation that the
real killers were apprehended, and that plaintiff was “pardoned based on his actual innocence." 954
N.E.2d at 333 & 337 ("[E]ven if introduction of the details of how Miller and Schneider committed
the murders might have ... led to an inference that [plaintiff's] confession was the product of police
suggestion, we conclude that plaintiff suffered no prejudice in light of the evidence that was
presented in the present suit, most significantly ... that he was pardoned based on his innocence, and
that the killers were apprehended").

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violation based on the alleged non-disclosure of these items. R. 151, 11/10/11
Memorandum Op. and Order at 26.°

While this Court has prohibited Jimenez from arguing at trial that Defendants’
failure to timely disclose the polaroid and inventory list constituted a Brady
violation under Section 1983, the Court denied summary judgment that the use of
the photograph to influence Tina Elder’s identification of Plaintiff could constitute a
Newsome violation under Section 1983, which must go to the jury. The fact that
the photograph was not included on the inventory log is probative of the defendants’
mental state. In other words, the omission of the photograph from the log that was
given to defense counsel supports the inference that the defendants surreptitiously
and maliciously used the photograph in order to manipulate Elder. Plaintiff should
be permitted to argue that inference despite the Courts’ ruling that the omission of
the photograph from the log is not also an independent Brady violation. Plaintiff
should still be permitted to question the officers about why they did not disclose the
polaroid in their police reports (as they had the Victor Romo picture) and why the
polaroid was not on the evidence lists produced to defense counsel in 1994 and 1997
(as was the Victor Romo photo). As noted above, such cross-examination (and any
direct examination of Jimenez’s former criminal counsel that is needed to tie up
these facts) is further evidence of Jimenez’s claim that defendants Bogucki and
Sanders conducted a purposefully false line-up procedure in violation of Section
1983 and that their prosecution of Jimenez was malicious (both of which this Court
upheld for trial on summary judgment). Indeed, the very reason that this Court

dismissed the Section 1983 claims against Schalk was because, unlike Bogucki and

? Although (a) Defendants did not file the Spellman affidavit until their reply brief, and (b)

Spellman was never disclosed as a witness in the litigation during discovery; and (c) the Spellman
affidavit does not state that the polaroid and longer inventory list were in the file or available to
Jimenez in 1994 and 1997 (but only that they are there today), Jimenez is not challenging that
aspect of the Court's summary judgment ruling.

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Sanders, he was not present when this polaroid manipulation occurred.
In sum, that Jimenez’s polaroid-related claim was barred on Brady grounds
does not and should not mean that it has been barred for all purposes. Robinson v.

Village of Matteson, 1999 WL 1270685, *2 (N.D.IIL. Dec. 23, 1999) (dismissal of

Brady claim does not necessarily compel the conclusion that all evidence that
formed the basis of the Brady claim was thereby inadmissible).
8. Phil Torres Deposition

Back at Plaintiffs criminal trials, Phil Torres provided purported-eyewitness
testimony implicating Plaintiff in the Morro murder. The Defendants very much
like Torres’ trial testimony, and seek to rely upon it here. However, as the Court is
aware from the summary judgment briefing, Torres made certain admissions and
statements at his 2011 deposition that undercut the strength of his prior trial
testimony. Defendants do not like Torres’ deposition testimony. Citing his history
of drug use, Defendants therefore seek to “strike” it. That relief is totally
inappropriate for the following reasons.

First, Torres did not purport to be high during the deposition; he merely
indicated that he is someone who has trouble remembering things because he gets
high. Exhibit E, Torres Dep. at 12-18. Torres’ history of drug use, while
regrettable, does not distinguish Torres from thousands of other Americans, many
of whom are routinely deemed competent to testify at criminal drug trials.
Defendants cite no authority supporting this as a valid basis to strike a deposition,

and it is not. United States v. Bailey, 510 F.3d 726, 734 (7th Cir. 2007) (“It is

probably true that witnesses who were stoned during the relevant parts of the
investigation did not have all their wits about them, making their memories fuzzy
when they took the stand. This could, in turn, lessen. the credence that is owed to

their version of events. But it is for the jury to evaluate the credibility of the

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witnesses, including any cloudiness brought on by their drug use.”).

Moreover, Torres made the claim about impairment in the context of asking
to be released from the remainder of the deposition. By all accounts, he clearly did
not want to be answering questions about his role in Plaintiffs prosecution
(especially because he believed he had previously been told he would never have to
testify about the case again), and his explanation about drug use was an attempt to
convince the lawyers to let him go home. See Exhibit E, Torres Dep. at 13, 27-30.
When it was explained to Torres that he would be required to complete the
deposition pursuant to a judicial subpoena, Torres clarified that his impairment
claim was more generalized, and that he was no more affected by drugs on the day
that his deposition was taken than he would have been on any other day, and he
agreed to proceed. Id. And when he did, Torres was plainly able to respond to
dozens of factual questions with specific answers during the course of the 90-page
deposition, notwithstanding his purported memory shortcomings. Id. at 15-23,
46-62.

Equally significant for present purposes, when Torres announced at his
deposition that he was suffering from memory issues as a result of drug use, defense
counsel nevertheless decided to proceed with the deposition through to completion.
Id. at 13, 27-30. In fact, Defendants’ counsel entered into a deal with Torres that he
would stay at the deposition and answer questions, as long as both sides agreed to a
time limit. Id. at 45-46.

Thereafter, Defendants’ counsel obviously found Torres sufficiently lucid to
ask him all sorts of questions concerning Plaintiff, Larry Tueffel, the Elders, the
Cosmens, and Eric Morro, as well as the details of Torres’ account of what happened
on the day of the murder. Id. at 46-62. Torres did not claim to be incompetent to

respond to defense counsel’s questions. Id. Having elected to see what Torres

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would say about the issues in the case even after being apprised that Torres was
claiming to be affected by drug use, Defendants cannot now (having heard certain
testimony they do not like) turn around and argue that the deposition should
essentially be erased.

At bottom, any issues Defendants may have with Torres’ credibility and
memory are fair game for cross-examination. While those same criticisms arguably
apply to Torres’ criminal testimony as well (he was already into his thirties with a
history of drug abuse at the time of the criminal testimony), Defendants are
obviously entitled to try to undercut the weight of Torres’ deposition testimony with
questions and arguments about his professed drug-induced memory challenges.

United States v. Bailey, 510 F.3d 726, 734 (7th Cir. 2007) (“A prophylactic rule that

drug-using witnesses are per se unbelievable would derail most drug prosecutions
which frequently involve, of necessity, the testimony of drug users. These witnesses’
shortcomings must be accounted for through cross-examination, not an exclusionary
rule.”). But an order striking the deposition altogether is plainly unjustified.

United States ex rel. Garrett v. Acevado, 608 F.Supp.2d 1005, 1017 (N.D. Ill. 2009)

(“The credibility of witnesses and conflicts in testimony are to be resolved by the
trier of fact.”).
9. Cover-Up, Code of Silence, and Other Bias Arguments

Despite their preoccupation with the term “code of silence,” Defendants have
not justified an order barring Plaintiff from arguing that police officers (like
members of other tightly-knit, hierarchical organizations) are reluctant to implicate
one another. Defendants are entitled to take the contrary position if they wish, but
Plaintiff should not be precluded from asking questions about bias. For this reason,

courts have consistently denied this same motion. See Saunders v. City of Chicago,

320 F.Supp.2d 735, 740 (N.D.II. 2004) (“Defendants’ motion to bar testimony that

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police officers in general or these officers in particular conspire to cover up one
- another’s bad acts through a ‘code of silence’ is denied as overly broad. The plaintiff
may explore the possibility that the defense witnesses in this case are biased

because of loyalty to one another.”); Galvan vy. Norberg, 2006 WL 1348680, *3 (N.D.

Ill. May 10, 2006) (denying similar motion because “evidence or argument of this

type can go to the issue of the bias or motivation of witnesses. This is a matter that
calls for Rule 403 balancing, so that the blanket motion in limine is denied for now,
without prejudice to the reassertion of any objections on this score in the context of

specific evidence when proffered at trial.”).’°

RESPECTFULLY SUBMITTED,

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 Itis certainly telling that despite casting their net nationally, neither of the two cases cited by
Defendants' motion are the least bit helpful to their cause. First, the issue in Shaw v. City of New
York, 1997 WL 187352 (8.D.N.Y. April 15, 1997) was whether to permit Plaintiff to admit into
evidence the Mollen Commission Report, dealing with police corruption. Id. at *9. Plaintiff is not
attempting to admit into evidence anything even remotely like the Mollen Commission Report. The
only other case cited by Defendants, Townsend v. Benya, 287 F.Supp.2d 868, 876-77 (N.D.IIL 20083),
did not even grant a similar motion in full. Rather, Judge Denlow expressly permitted the Plaintiff
leeway to explore bias among police officers. Id.

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CERTIFICATE OF SERVICE

I, Jon Loevy, an attorney, certify that on November 28, 2011, I served
Plaintiffs Response to Defendants’ Motions in Limine on all counsel of record via

the court’s ECF system.
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